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                        IN THE UNITED STATES DISTRICT COURT
                       FOR THE WESTERN DISTRICT OF TENNESSEE


TRAVIS FARRIS,                                         )
                                                       )
                        Plaintiff,                     )
                                                       )
v.                                                     )             CIVIL ACTION NO.
                                                       )                2:14-cv-2920
PORTFOLIO RECOVERY ASSOCIATES,                         )
LLC,                                                   )
                                                       )
                        Defendant.                     )


                                     NOTICE OF SETTLEMENT

          COMES NOW defendant Portfolio Recovery Associates, LLC ("Defendant"), by and

through its undersigned counsel, and hereby informs the Court that a settlement of the present

matter has been reached as to all claims of plaintiff Travis Farris against Defendant.

          Defendant, therefore, requests that this Honorable Court vacate all dates currently set on

calendar for the present matter and give the parties 30 days to file the necessary dismissal papers.

          Respectfully submitted this 22nd day of December, 2014.



                                               s/ Alan D. Leeth
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                                CERTIFICATE OF SERVICE

       I hereby certify that I have served a copy of the foregoing document by Notice of
Electronic Filing, or, if the party served does not participate in Notice of Electronic Filing, by
U.S. First Class Mail and email on this the 22nd day of December, 2014:

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                                             s/ Alan D. Leeth
                                             OF COUNSEL




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